CaSe O:OB-cV-60985-.].]O Document 264-1 Entered on FLSD Docket 06/01/2007

EXhibit 1

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.‘ - VOLUNTEER LAWYERS‘ PROJECT
FoR '1‘111~:_ SOUTHERN l.`)Isrmcr 011 FLott'u)A

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4320 BANK or AMERICA Towelt
100 S.E. SECOND ST.

MIAMI,I~`LORn)A 33131

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rAcerlLl-: (305) 358- 0910
volunteeriawers@beilsnum. net

n ` . 'A'ITORNEY- PROJECT A.GR.EEMENT

(l) - I, Man'a Retxtir_ez of Hogan & Hartson., agree to participate in the Volunteer Lawyers'
' Project for the Southern District of Florida by representing a civil litigant pro bone in the

following _:case

Hudson v. Seeretary of Hnmeland Security, et al.

__(2)" I have read the Workjng Paper and agree to abide by it_

f(3) I agree to sign a retainer agreement with the client providing for recovery of attorney 's
` fees at the stemtory limit in case of settlement or court judgment IJ)_ the event that
attorney’ s fees are recovered by either a judicial award of fees or settiement, I agtee to
_ remit re the Prejeet 25% of the attorney' s fees amount :g‘i‘er monies loaned from the
jRevolving _Litigetion Loan Fu_nd (if any) and my actual costs (jout-of-pocket expenses) are
deducted from t_he gross award. If I wish to waive my fees I will contact the Project for

a review of the circumstances for the waiver.

x (4) 4' I agree to complete a Case Cl_osing Report at the end c-f my representation in the
above listed case(s). - .

(5) I am am not x requesting that the Projeet extend professional liability insurance -
" with a $2_00, 000 policy limit to me in the above listed eaee(s) as of this date _‘ v .

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l An_ |ndependent enemy fn service to the Uni\ed State-.t -Disl_rlet Co\m
for the Soutl_lern l_)inrict of Florlda -

 

 

